Case 18-50214-rlj11 Doc 327 Filed 10/02/18         Entered 10/02/18 16:23:24       Page 1 of 5



MULLIN HOARD & BROWN, L.L.P.
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Former Counsel for Debtors, Reagor-Dykes
Motors, LP; Reagor-Dykes Imports, LP;
Reagor-Dykes Amarillo, LP; Reagor-Dykes
Auto Company, LP; Reagor-Dykes
 Plainview, LP; Reagor-Dykes Floydada, LP

                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                     LUBBOCK DIVISION

IN RE:                                         §
                                               §
REAGOR-DYKES MOTORS, LP                        §         Case No. 18-50214-rlj11
         Debtor.                               §
IN RE:                                         §
                                               §         Case No. 18-50215-rlj11
REAGOR-DYKES IMPORTS, LP                       §         (Jointly Administered Under
         Debtor.                               §
                                                          Case No. 18-50214)
IN RE:                                         §
                                               §          Case No. 18-50216-rlj11
REAGOR-DYKES AMARILLO, LP                      §         (Jointly Administered Under
         Debtor.                               §
                                                          Case No. 18-50214)
IN RE:                                         §
                                               §          Case No. 18-50216-rlj11
REAGOR-DYKES AUTO COMPANY, LP                  §         (Jointly Administered Under
         Debtor.                               §
                                                          Case No. 18-50214)
IN RE:                                         §
                                               §         Case No. 18-50218-rjl11
REAGOR-DYKES PLAINVIEW, LP                     §         (Jointly Administered Under
         Debtor.                               §
                                                         Case No. 18-50214)
IN RE:                                         §
                                               §         Case No. 18-50219-rlj11
REAGOR-DYKES FLOYDADA, LP                      §         (Jointly Administered Under
         Debtor.                               §
                                                         Case No. 18-50214)

          WITNESS AND EXHIBIT LIST OF MULLIN HOARD & BROWN, L.L.P.
               FOR HEARINGS SCHEDULED FOR OCTOBER 5, 2018

Witness & Exhibit List for October 5th Hrgs.
Page 1
Case 18-50214-rlj11 Doc 327 Filed 10/02/18               Entered 10/02/18 16:23:24      Page 2 of 5




          NOW COMES, Mullin Hoard & Brown, L.L.P. (“MHB”), and files this, its Amended

Witness & Exhibit List For Hearings Scheduled for October 5, 2018.

                                              WITNESSES

          MHB discloses that they may call the following individuals to provide testimony:

          1.         Lyndon James, Senior Partner, BlackBriar Advisors, LLC
          2.         Bob Schleizer, Managing Partner, BlackBriar Advisors, LLC
          3.         Bart Reagor, Owner
          4.         Rick Dykes, Owner
          5.         David R. Langston, Partner, Mullin Hoard & Brown, L.L.P.
          6.         Brad W. Odell, Partner, Mullin Hoard & Brown, L.L.P.
          7.         Keith Langley, attorney for Ford Motor Credit
          8.         Louis Phillips, attorney for Bart Reagor
          9.         Tom Kirkendall, attorney for Rick Dykes
          10.        Timothy Conner, CPA, Accounting Manager
          11.        Brad Fansler, Administration Director
          12.        Steve Reinhart, Legal/Compliance Director, Facilities Director, New Construction
                     Manager

          MHB reserves the right to amend this Witness List and to call other witnesses as may be

necessary for rebuttal or impeachment purposes. MHB also reserves the right to call any

witnesses designated or called by any other party to these proceedings.

                                               EXHIBITS

          MHB discloses that they may introduce the following exhibits:

TAB                                               DESCRIPTION


1.        Engagement letter between Mullin Hoard & Brown, L.L.P. and Debtors dated August 6,
          2018

2.        Engagement letter between Mullin Hoard & Brown, L.L.P. and Reagor Auto Mall, Ltd. and
          Reagor-Dykes Snyder, LP dated August 10, 2018

3.        Copies of retainer checks paid by Rick Dykes and Bart Reagor individually in the amount of
          $250,000 each, along with deposit tickets.




W/E List for October 5th Hearing
Page 2
Case 18-50214-rlj11 Doc 327 Filed 10/02/18            Entered 10/02/18 16:23:24     Page 3 of 5



TAB                                           DESCRIPTION


4.        Termination letter from Debtors to Mullin Hoard & Brown, L.L.P. dated August 21, 2018,
          along with email dated August 23, 2018 forwarding same.

5.        Resolution of Reagor-Dykes Motors, LP dated July 31, 2018

6.        Resolution of Reagor-Dykes Imports, LP dated July 31, 2018

7.        Resolution of Reagor-Dykes Amarillo, LP dated July 31, 2018

8.        Resolution of Reagor-Dykes Auto Company, LP dated July 31, 2018

9.        Resolution of Reagor-Dykes Plainview, LP dated July 31, 2018

10.       Resolution of Reagor-Dykes Floydada, LP dated July 31, 2018

11.       Resolution of Reagor-Dykes Snyder, LP dated August 10, 2018

12.       Resolution of Reagor Auto Mall, Ltd. dated August 10, 2018

13.       Notice of Appearance and Request For Notice of Louis M. Phillips on behalf of Bart Reagor
          dated August 9, 2018 [Docket #53]

14.       Response to Order to Show Case in Case No. 5:187-cv-00186; Ford Motor Credit
          Company, LLC v. Reagor-Dykes Amarillo, L.P., et. al dated August 6, 2018, filed by
          counsel for Reagor-Dykes II, L.L.C., Reagor-Dykes Auto Mall I, L.L.C., Reagor-Dykes III,
          L.L.C., Bart Reagor and Rick Dykes.


          MHB reserves the right to amend this Exhibit List in order to supplement the list of

documents that may be introduced. MHB also reserves the right to introduce other exhibits as

may be necessary for impeachment purposes. MHB also reserves the right to introduce exhibits

designated by any other party to these proceedings.




W/E List for October 5th Hearing
Page 3
Case 18-50214-rlj11 Doc 327 Filed 10/02/18                Entered 10/02/18 16:23:24         Page 4 of 5



                                                   Respectfully Submitted,

                                                   MULLIN HOARD & BROWN, L.L.P.
                                                   P.O. Box 2585
                                                     Lubbock, Texas 79408-2585
                                                   Telephone: (806) 765-7491
                                                   Facsimile: (806) 765-0553

                                                   _/s/ David R. Langston________________
                                                   David R. Langston, SBN: 11923800
                                                   Brad W. Odell, SBN: 24065839
                                                   Former Counsel for Debtors, Reagor-Dykes
                                                   Motors, LP; Reagor-Dykes Imports, LP;
                                                   Reagor-Dykes Amarillo, LP; Reagor-Dykes
                                                   Auto Company, LP; Reagor-Dykes
                                                   Plainview, LP; Reagor-Dykes Floydada, LP


                                        CERTIFICATE OF SERVICE

         I certify that a true and correct copy of the foregoing Motion was served on the following parties
in interest via Email and/or ECF on this 2nd day of October 2018:

          1.         Reagor Dykes Auto Group
                     1215 Ave. J
                     Lubbock, Texas 79401

          2.         U.S. Trustee’s Office
                     Attn: Stephen McKitt
                     1100 Commerce St., Room 9C60
                     Dallas, Texas 75242
                     Email: Stephen.McKitt@usdoj.gov

          3.         Mr. Bart Reagor
                     Managing Member of the Debtors and non-debtors
                     General Partners
                     1215 Ave. J
                     Lubbock, Texas 79401
                     Email: breagor@aol.com

          4.         Mr. Rick Dykes
                     Managing Member of the Debtors and non-debtors
                     General Partners
                     1215 Ave. J
                     Lubbock, Texas 79401
                     Email: dykesrick@yahoo.com

          5.         Louis Phillips
                     Kelly Hart & Pitre
                     301 Main Street, Suite 1600


W/E List for October 5th Hearing
Page 4
Case 18-50214-rlj11 Doc 327 Filed 10/02/18                    Entered 10/02/18 16:23:24         Page 5 of 5



                     Baton Rouge, LA 70801
                     Email: Louis.Phillips@kellyhart.com

          6.         Tom Kirkendall
                     Law Offices of Tom Kirkendall
                     2 Violetta Ct.
                     The Woodlands, TX 77381
                     Email: bigkirk@kir.com

          7.         Bob Schleizer
                     BlackBriar Advisors LLC
                     3131 McKinney Ave., #600
                     Dallas, TX 75204
                     Email: bschleizer@blackbriaradvisors.com

          8.         Marcus Helt
                     Foley & Lardner, LLP
                     2021 McKinney Ave., Suite 1600
                     Dallas, TX 75201
                     Email: mhelt@foley.com

          9.         Keith Langley and Brandon Bains
                     Langley LLP
                     1301 Solana Blvd.
                     Bldg. 1, Suite 1545
                     Westlake, Tx. 76262
                     Email: klangley@l-llp.com
                     Email: bbains@l-llp.com

          10.        Donald Cram and Duane M. Geck
                     Severson & Werson
                     One Embarcadero Center, Suite 2600
                     San Francisco, CA 94111
                     Email: dmg@severson.com
                     Email: dhc@severson.com

          11.        All parties receiving notice via ECF in this case.


                                                               /s/ David R. Langston_________
                                                                   David R. Langston




W/E List for October 5th Hearing
Page 5
